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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                  Plaintiff,                               8:07CR98

     vs.
                                                    ORDER OF DISMISSAL
ROLAND K. LONG,

                  Defendant.




     IT IS ORDERED:

     1. That the Defendant’s Motion to Dismiss his Motion under 28 U.S.C. § 2255 to
        Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody (“§
        2255 Motion”), ECF No. 172, is granted;

     2. The § 2255 Motion, ECF No. 165, is dismissed, without prejudice; and

     3. The Clerk will mail a copy of this Order to the Defendant at the Defendant’s
        last known address.


     Dated this 21st day of March, 2017.

                                            BY THE COURT:
                                            s/Laurie Smith Camp
                                            Chief United States District Judge
